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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

KEVIN FOWLKS,
      Plaintiff,
-vs.-

GLASSEN, RHEAD, McLEAN, CAMPBELL
& SCHUMACHER, P.L.C.,
a Michigan limited liability company,
      Defendant.
__________________________________________________________________

                     COMPLAINT AND JURY DEMAND

      NOW COMES THE PLAINTIFF, KEVIN FOWLKS, THROUGH

COUNSEL, CREDIT REPAIR LAWYERS OF AMERICA, who, and for his

Complaint against the Defendants, plead as follows:



                                JURISDICTION

   1. This is an action for damages, brought against a debt collector for violating

      the Fair Debt Collection Practices Act at 15 U.S.C. § 1692 et seq. ("FDCPA"),

      Michigan Collection Practices Act at M.C.L. § 445.251 et seq. ("MRCPA"),

      and the Michigan Occupational Code at M.C.L. § 339.901 et seq. ("MOC").




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                                  VENUE

2. The transactions and occurrences which give rise to this action occurred in

   Ingham County, Michigan.

3. Venue is proper in the Eastern District of Michigan.



                                 PARTIES

4. Plaintiff is a natural person residing in Lansing, Ingham County, Michigan.

5. The Defendant to this lawsuit is Glassen, Rhead, McLean, Campbell &

   Schumacer, P.L.C., which, upon, information and belief, is a Michigan

   professional limited liability company that maintains registered offices in

   Ingham County.



                      GENERAL ALLEGATIONS

6. Defendant is attempting to collect a consumer type debt in the amount

   $16,033.21 allegedly owed by Plaintiff to Michigan State University Federal

   Credit Union (the “Debt”).

7. In 2013, Mr. Fowlks was sued for the Debt and a judgment was entered against

   him.




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8. On or about June 14, 2017, Defendant sent a letter attempting to collect the

   alleged Debt to Mr. Fowlks. Although the letter was addressed to Mr. Fowlks,

   the envelope in which it was sent was only addressed to his Plaintiff’s

   employer, Michigan State University, and bore no reference to Mr. Fowlks

   himself. Further, the letter does not request any contact information regarding

   Mr. Fowlks.

9. The letter went to the HR department, which opened the envelope to find a

   collection letter. The letter states the balance owed for the alleged Debt, the

   name of the original creditor and information regarding satisfying the

   judgment. A co-worker handed Mr. Fowlks the opened envelope and letter

   when the mail was passed out. Multiple employees saw the collection letter,

   which was sent in violation of the FDCPA, MOC and/or MRCPA.

10.Mr. Fowlks has suffered pecuniary and emotional damages, as a result of

   Defendant’s actions.



   COUNT I – VIOLATION OF THE FAIR DEBT COLLECTION
                    PRACTICES ACT

11.Plaintiff reincorporates the preceding allegations by reference.




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12.At all relevant times Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

13.Mr. Fowlks is a "consumer" for purposes of the FDCPA and the account at

   issue in this case is a consumer debt.

14.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

   ("FDCPA"), 15 U.S.C. §1692a(6).

15.Defendant's foregoing acts in attempting to collect this alleged debt violated

   the following provisions of the FDCPA:

      a. 15 U.S.C. §1692c(b) by communicating in connection with the

         collection of any debt, with any person other the consumer, his attorney

         or a consumer reporting agency. Defendant violated this provision of

         the FDCPA by sending the collection letter to Mr. Fowlks employer.

      b. 15 U.S.C. §1692e(10) by using false representation or deceptive means

         to collect any debt. Defendant violated this provision of the FDCPA by

         sending the collection letter to Mr. Fowlks employer.

16.Mr. Fowlks has suffered economic, emotional, general and statutory damages

   as a result of these violations of the FDCPA.




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      WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Fair Debt

Collection Practices Act.



 COUNT II - VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE

   17.Plaintiff incorporates the preceding allegations by reference.

   18. Defendant is a "collection agency" as that term is defined in the Michigan

      Occupational Code ("MOC"), M.C.L. § 339.901(b).

   19.Mr. Fowlks is a debtor as that term is defined in M.C.L. § 339.901(f).

   20.Defendant’s foregoing acts in attempting to collect this alleged debt violated

      the following provisions of the MOC:

         a. MCL §339.915(a) by communicating with a debtor in a misleading and

            deceptive manner. Defendant violated this provision of the FDCPA by

            sending the collection letter to Mr. Fowlks employer.

         b. MCL §339.915(i) by communicating information relating to a debtor’s

            indebtedness to an employer, where the communication was not

            authorized by the debtor, was not sent in response to an inquiry initiated

            by the employer, and was not sent for the purpose of acquiring location

            information about the debtor. Defendant violated this provision of the

            FDCPA by sending the collection letter to Mr. Fowlks employer.
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        c. MCL §339.915(n) by using a harassing, oppressive or abusive method

           to collect a debt. Defendant violated this provision of the FDCPA by

           sending the collection letter to Mr. Fowlks employer.

        d. MCL §339.915(q) by failing to implement a procedure designed to

           prevent a violation by an employee.

  21.Mr. Fowlks has suffered damages as a result of these violations of the

     Michigan Occupational Code.

  22.These violations of the Michigan Occupational Code were willful.



     WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Michigan

Occupational Code.



     COUNT III - VIOLATION OF THE MICHIGAN COLLECTION
                        PRACTICES ACT

  23.Plaintiff incorporates the preceding allegations by reference.

  24. Defendant is a "Regulated Person" as that term is defined in the Michigan

     Collection Practices Act ("MCPA"), at MCL § 445.251.

  25.Mr. Fowlks is a "Consumer" as that term is defined at MCL § 445.251.



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26.Defendant’s foregoing acts in attempting to collect this debt violated the

   following provisions of the MCPA:

      a. MCL §445.252 (a) by communicating with a debtor in a misleading and

         deceptive manner. Defendant violated this provision of the FDCPA by

         sending the collection letter to Mr. Fowlks employer.

      b. MCL §445.252 (i) by communicating information relating to a debtor’s

         indebtedness to an employer, where the communication was not

         authorized by the debtor, was not sent in response to an inquiry initiated

         by the employer, and was not sent for the purpose of acquiring location

         information about the debtor. Defendant violated this provision of the

         FDCPA by sending the collection letter to Mr. Fowlks employer.

      c. MCL §445.252 (n) by using a harassing, oppressive or abusive method

         to collect a debt. Defendant violated this provision of the FDCPA by

         sending the collection letter to Mr. Fowlks employer.

      a. MCL §445.252(q) by failing to implement a procedure designed to

         prevent a violation by an employee.

27.Mr. Fowlks has suffered damages as a result of these violations of the MCPA.

28.These violations of the MCPA were willful.




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     WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant her

damages plus costs, interest and attorneys' fees as provided by the Michigan

Collection Practices Act.



                               JURY DEMAND

     Plaintiff hereby demands a trial by Jury.

                            Respectfully submitted.


 October 17, 2017           /s/ Gary Nitzkin
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